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The Honorable Hector Gonzalez
United States District Judge
United States District Court, New York Eastern District
225 Cadman Plaza East
Brooklyn, NY 11201

Re:     Fellows et al. v. Ciccone et al., Case No. 1:24-cv-00357-HG

Dear Judge Gonzalez:

We write on behalf of the defendants in the above-captioned action. This morning, with no notice
to defendants, the plaintiffs filed a notice of voluntary dismissal with prejudice (ECF No. 36),
which unilaterally declares that each party shall bear its own fees and costs. Plaintiffs’ dismissal
of this action was not the result of any settlement, and defendants do not agree with plaintiffs’
position that each party should bear its own fees and costs.

Defendants believe that this action was a frivolous strike suit designed to force them to incur legal
expenses. Plaintiffs have now abandoned this lawsuit when it became clear that this approach
would not result in a settlement payment and that they would need to oppose defendants’ motion
to dismiss the Amended Complaint. Given the legal expenses that defendants were forced to incur
to defend this action, including filing two motions to dismiss and opposing plaintiffs’ false “Notice
of Settlement” that the Court struck, defendants reserve the right to move for sanctions, attorneys’
fees, and costs.

Respectfully submitted,

/s/ Jeff Warshafsky
Jeff Warshafsky




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